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                   EXHIBIT 194
                         REDACTED
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                         PURSUANT TO   PROTECTIVE ORDER
                                    39338


                                                                  Page 1

1             IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF TEXAS
2                      SHERMAN DIVISION
3       THE STATE OF TEXAS, et    )
        al.,                      )
4                                 ) Case No.
                    Plaintiffs,   ) 4:20-cv-00957-SDJ
5                                 )
        vs.                       ) Hon. Sean D. Jordan
6                                 )
        GOOGLE LLC,               )
7                                 )
                    Defendants.   )
8
                         FRIDAY, APRIL 12, 2024
9
         CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
10                           – – –
11                 Remote videotaped deposition of
12       Google LLC 30(b)(6) designee             ,
13       held at the location of the witness in
14                          , commencing at 8:33 a.m.
15       Eastern, on the above date, before Carrie A.
16       Campbell, Registered Diplomate Reporter,
17       Certified Realtime Reporter, Illinois,
18       California & Texas Certified Shorthand
19       Reporter, Missouri, Kansas, Louisiana & New
20       Jersey Certified Court Reporter.
21
22                                    – – –
23
24
25       Job No. MDLG6644294

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1        QUESTIONS BY MS. YOUNG:
2                   Q.       We will get into this with the
3        contracts, but the partners who were
4        terminated were terminated before their
5        contracts were expired.
6                            Correct?
7                            MS. ELMER:          Object to form.
8                            THE WITNESS:              Sorry, could
9                   you -- could you -- could you say that
10                  again?
11       QUESTIONS BY MS. YOUNG:
12                  Q.       The partners who were
13       terminated as part of this recontracting
14       effort that you led, they were terminated
15       before their contracts expired.
16                           Correct?
17                           MS. ELMER:          Object to form.
18                           THE WITNESS:              No.
19       QUESTIONS BY MS. YOUNG:
20                  Q.       They were not terminated before
21       their contracts expired?
22                  A.       All our -- I believe the -- no,
23       I would say not.
24                  Q.       So this recontracting only
25       occurred when the contract was up to expire?

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